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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA



              APPLE INC.,

                        Plaintiff,

              vs.                                     No. 9:19-cv-81160-RS

              CORELLIUM, LLC,

                        Defendants.

              __________________________/




                            DEPOSITION OF JACQUES VIDRINE


                        CONFIDENTIAL - ATTORNEYS' EYES ONLY


                        Date:             April 10, 2020

                        Time              10:00 a.m.

                        Location:         All parties via
                                          videoconference


                        Stenographically reported by:

                                          Nina Pavone, CSR
                                          License No. CSR-7802




                                         *   *   *   *




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                                                                        Page 18
     1                 MS. NIGHTINGALE DAWSON:       Objection.

     2        Mischaracterizes prior testimony.

     3        BY MR. LEVINE:

     4              Q. You can answer.

     5              A. I don't think that I said that there were

     6        particular requirements.

     7                 Is there middle ground?       Yes, the world is

     8        not black and white and I have heard the phrase used,

     9        a gray hat hacker.

    10                 This really starts to get fuzzy if you want

    11        to use the word -- definitions.        I think it's more

    12        self-labeling in that respect.

    13              Q. Self-labeling, as in everybody just has their

    14        own definition, is that what you meant by that?

    15              A. What I meant was it's -- for me, it's pretty

    16        clear when somebody is generally a white hat or a

    17        black hat.    But I have heard some people label

    18        themselves as gray hats.

    19                 That might fit the circumstance that you said

    20        earlier where somebody kept the vulnerability to

    21        themselves in order to continue security research.

    22              Q. What about if one finds a vulnerability and

    23        that vulnerability is then sold to, for example, the

    24        U.S. government who then uses it to break through to

    25        a terrorist cell and prevents a terrorist attack on


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                                                                        Page 19
     1        the country.     What hat would you put that person in?

     2              A. I wouldn't call them a white hat hacker.

     3              Q. Okay.    But what hat would you put them in?

     4              A. I don't usually use this term.         I know how to

     5        interpret it.     But I think you just gave me a good

     6        example of someone who might refer to themselves as a

     7        gray hat hacker.

     8              Q. And would you -- so under your definitions,

     9        do gray hat hackers have any negative connotation or

    10        are they just good people who are simply not

    11        reporting?

    12              A. Well, this is all -- it's all my personal

    13        opinion here and you just used the word "good

    14        people."   I'm not making any moral judgments about

    15        these things.

    16                 I know that in the press and maybe some lay

    17        people use these terms and so I can only give you my

    18        best understanding of them from myself.

    19              Q. Okay.    Well, but for the purpose of this

    20        deposition, I am trying to get clear definitions.

    21                 So would there be negative connotations that

    22        are attributed to people whom you would assign to a

    23        gray hat or is it case-by-case basis?

    24              A. I don't usually use the term "gray hat," as I

    25        mentioned.    I think some label themselves that way.


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  1                I, NINA PAVONE, a Certified Shorthand

  2    Reporter, hereby certify that the witness in the

  3    foregoing deposition was by me duly sworn to tell the

  4    truth, the whole truth, and nothing but the truth in

  5    the within-entitled cause;

  6                That said deposition was taken down in

  7    shorthand by me, a disinterested person, at the time

  8    and place therein stated, and was hereafter

  9    transcribed, by computer, into typewriting, under my

 10    direction and supervision;

 11                That before completion of the deposition

 12    review of the transcript (x ) was requested ( ) was

 13    not requested.       If requested, any changes made by the

 14    deponent (and provided to the reporter) are appended

 15    hereto.

 16                I further certify that I am not of counsel,

 17    nor attorney for any of the parties in the foregoing

 18    deposition and caption named, nor in any way

 19    interested in the outcome of the cause named in said

 20    caption, and that I am not related to any of the

 21    parties hereto.

 22

 23    DATE:    April 22, 2020

 24                                   __________________________

 25                                   NINA PAVONE, CSR #7802


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